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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT


ALICE H. ALLEN, et al.,

       Plaintiffs,

               v.
                                                      Civil Action No. 5:09-CV-00230-cr
DAIRY FARMERS OF AMERICA, INC. and
DAIRY MARKETING SERVICES, LLC,

       Defendants.


   DFA/DMS SUBCLASS’S RESPONSE TO JONATHAN AND CLAUDIA HAAR’S
  “MOTION FOR LEAVE TO FILE MOTION FOR DEFERRAL OF DEADLINE FOR
         MOTION FOR RECONSIDERATION OF 707 ENTRY ORDER”

       The DFA/DMS Subclass respectfully responds to the motion filed by Jonathan and

Claudia Haar. ECF No. 708. Their motion relates to the Court’s October 23, 2015 entry order,

ECF No. 707, denying the DFA/DMS Subclass Representatives’ renewed motion for new

counsel and granting in part and denying in part DFA/DMS Subclass Counsel’s motion for

appointment of additional subclass representatives and removal of current subclass

representatives (“Order”). The Haars attached to their motion another document entitled, “DFA

Member Subclass Representatives’ Motion to Defer Deadlines for Motion for Reconsideration of

707 Entry Order.” ECF No. 708-2. That motion more clearly sets for the relief sought; it seeks a

“continuance of the date to file for reconsideration under Local Rule 7(c) until fourteen days

after the ninetieth day, or January 11th, 2016.” Id. at 1. It also refers to an “In Camera Filing”

that the Haars state was provided to the Court.

       The DFA/DMS Subclass responds as follows:

       1.      The time period for filing a motion for reconsideration is 14 days. L.R. 7(c). The

Court’s Order at issue was decided on October 23, 2015. While one version of the motion was


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served on counsel and was dated November 5, 2015, the motion was not appropriately filed with

the Court by the deadline of November 6.

       2.      As the Court ruled, there was no sound basis for the second motion for new

counsel. ECF No. 707. The new filing does not provide any rationale for reconsidering that

Order, but nevertheless asks that the deadline for seeking reconsideration be extended until

January 11, 2016 – an extension of more than two months. The DFA/DMS Subclass respectfully

submits that there is no basis for such an extension both because no rationale for reconsideration

has been offered and because any motion for reconsideration should have been promptly filed

after the Court’s decision (as required by the Local Rules).

       3.      The Haars’ in camera submission has not been provided to Subclass Counsel (or,

to our knowledge, any party to this litigation) and should not be considered by the Court.

       4.      In accordance with the Court’s directions, all parties are conferring extensively

regarding the possible settlement of this litigation and will submit an appropriate filing on or

before the December 28, 2015 deadline established by the Court.

       Based on the foregoing, the DFA/DMS Subclass respectfully requests that the Court deny

the motion and that the in camera submission be excluded from the record and disregarded.
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Dated: December 8, 2015                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE


       I certify that on the 8th day of December, 2015, a true and correct copy of the foregoing:

DFA/DMS Subclass’s Response to Jonathan and Claudia Haar’s “Motion for Leave to File

Motion for Deferral of Deadline for Motion for Reconsideration of 707 Entry Order” was served

by operation of the electronic filing system of the U.S. District Court for the District of Vermont

upon all counsel who have consented to receive notice of filings in the matters styled Allen, et al.

v. Dairy Farmers of America, et al., Case No. 5:09-cv-00230-cr.

                                                  / s / Brent W. Johnson
                                                  Brent W. Johnson
